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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,
                                                             Case No. 25-cv-10676-BEM
              Plaintiffs,

                  v.
                                                             [PROPOSED] ORDER
 U.S. DEPARTMENT OF HOMELAND SECURITY;                       GRANTING PLAINTIFFS’
 Kristi NOEM, Secretary, U.S. Department of                  EMERGENCY MOTION FOR
 Homeland Security, in her official capacity; Pamela         TEMPORARY RESTRAINING
 BONDI, U.S. Attorney General, in her official               ORDER AND PRELIMINARY
 capacity; and Antone MONIZ, Superintendent,                 INJUCTION ON BEHALF OF
 Plymouth County Correctional Facility, in his official      PLAINTIFF O.C.G.
 capacity,

              Defendants.


       THIS MATTER comes before the Court on Plaintiff O.C.G.’s Emergency Motion for a

Temporary Restraining Order and Preliminary Injunction. Having considered the motion, the

memorandum, and exhibits in support thereof, and all prior and subsequent pleadings and orders

related to the motion and the applicable law, the Court ORDERS as follows:

   1. Plaintiffs’ Motion for a Temporary Restraining Order is GRANTED.

   2. Defendants, all of their officers, agents, servants, employees, attorneys, successors,

       assigns, and persons acting in concert or participation with them are hereby ORDERED

       to immediately take all steps, including coordinating with Plaintiffs’ counsel, to facilitate

       the immediate return of Plaintiff O.C.G. to the United States. Defendants shall report

       back to the Court within 2 days of this Order with an update as to the status of Plaintiff

       O.C.G.’s return.

It is so ORDERED this ______ day of May 2025.

                                              _________________________________________
                                              U.S. DISTRICT JUDGE BRIAN E. MURPHY

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